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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 KI CHUL SEONG, an individual,                   )
 and OPEC ENGINEERING CO., LTD.,                 )
 a Korean Corporation,                           )
                                                 )
                Plaintiffs,                      )
                                                 )
        v.                                       )       No. 15 CV 2234
                                                 )
 PAPS USA, LLC.,                                 )       Honorable Judge Manish Shah
 an Illinois Limited Liability Company;          )
 PUNGKUK EDM WIRE                                )       Magistrate Daniel Martin
 MANUFACTURING CO.,                              )
 a Korean Corporation; MACT CO., LTD,            )
 a Korean Corporation;                           )
 and DOES 1 through 10, inclusive,               )
                                                 )

                Defendants.

              UNOPPOSED MOTION FOR LEAVE TO FILE UNDER SEAL

       Plaintiffs KI CHUL SEONG and OPEC ENGINEERING CO., LTD. (“Plaintiffs”)

hereby move this Court for Leave to File Under Seal.

       Plaintiffs filed a MOTION TO: (1) COMPEL PRODUCTION OF INFRINGING SALES

DOCUMENTS AND EDM WIRE PRODUCTS; (2) EXTEND THE DISCOVERY PERIOD

AND OTHER REMAINING DUE DATES IN THIS CASE; AND (3) AWARD SANCTIONS

AGAINST DEFENDANT with exhibits [Dkt. 106].

       Plaintiffs’ motion contains sensitive, confidential and proprietary information regarding

not only the parties involved but other uninvolved parties. Disclosure of such information to the

public would be prejudicial to the parties as well as other uninvolved parties.

       Plaintiffs’ attorneys have consulted with Defendant’s counsels and they do not object. In

fact, they agree that Plaintiff’s motion and exhibits [Dkt. 106] should be filed under seal.

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       WHEREFORE, Plaintiffs respectfully request for an Order allowing them to file their

Motion to Compel and all exhibits [Dkt. 106] under seal and for any other relief this Court deems

appropriate under the circumstances.




Respectfully submitted, this 29th day of August 2018.


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 Attorneys for Plaintiffs and
 Counterclaim-Defendants




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                                 CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that, on this 29th day of August 2018, the

foregoing was electronically filed with the Clerk of the Court using the CM/ECF system, which

will send a notice of electronic filing to CM/ECF participants in this case.



                                                      By: /s/         Samuel S. Bae

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